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                                                             U.S.DISTR ; Y     .
              IN THE UNITED STATES DISTRICT COURT FOR
                 THE SOUTHERN DISTRICT OF GEORGIA     213FEg i
                         SAVANNAH DIVISION

JAMERSON VASHON SMALLS,                                                  OFC

     Petitioner,

                                          CASE NO. CV411-292

UNITED STATES OF AMERICA,

     Respondent.


                               ORDER

     Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 12), to which objections have been filed

(Doc. 16) . After a careful de novo review of the record, the

Court finds Petitioner's objections without merit. Accordingly,

the report and recommendation is ADOPTED as the Court's opinion

in this case, and the 28 U.S.C. § 2255 Petition is DISMISSED.

As noted in the report and recommendation, the Court declines to

grant Petitioner a Certificate of Appealability, rendering moot

any request for leave to appeal in forma pauperis. The Clerk of

Court is DIRECTED to close this case.

     SO ORDERED this //day of February 2013.




                                  WILLIAM T. MOORE, JR.
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
